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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 16-81831-CIV-MARRA

 FRANCIS MARTINEZ,

        Plaintiff,

 v.

 RANCHO CHICO TEQUESTA, LLC,
 d/b/a RANCHO CHICO

       Defendant.
 _____________________________________/

                                FINAL ORDER OF DISMISSAL

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal Without

 Prejudice (DE 6), filed on November 16, 2016. The Court has carefully reviewed the Notice and the

 record herein and is otherwise fully advised in the premises. Accordingly, it is hereby:

        ORDERED AND ADJUDGED that this case is DISMISSED WITHOUT PREJUDICE.

 The Clerk of this Court shall CLOSE this Case. Any pending motions are DENIED AS MOOT.

        DONE AND SIGNED in Chambers at West Palm Beach, Palm Beach County, Florida, this

 17th day of November, 2016.

                                              _______________________________________
                                              KENNETH A. MARRA
                                              United States District Judge
